Case 1:24-cv-07854-AMD-RML                 Document 1          Filed 11/12/24     Page 1 of 20 PageID #: 1




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   --------------------------------------------------------------------X
   SHANTE ORR,

                    Plaintiff,                                             COMPLAINT

           -against-                                                       JURY TRIAL DEMANDED

   THE CITY OF NEW YORK and EDWICH JASMIN,
   Individually and in his capacity as Captain for the
   Department of Correction,

                     Defendant.
   --------------------------------------------------------------------X




         Plaintiff Shante Orr (“Ms. Orr” or “Plaintiff”) by and through her attorneys Stagg Wabnik

 Law Group LLP, complaining of Defendant the City of New York (“City” or “Defendant”), and

 Edwich Jasmin (“Jasmin”), individually and in his capacity as Captain for the New York City

 Department of Correction (collectively with the City as “Defendants”) herein alleges as follows.

                                       NATURE OF THE ACTION

         1.       This is an action to remedy Defendants’ unlawful discrimination and harassment in

         violation of Title 7 of the Civil Rights Act of 1964, New York Executive Law § 296 (New

         York State Human Rights Law), and New York City Administrative Code § 8-107 (New

         York City Human Rights Law).

         2.       Ms. Orr has worked for the New York City Department of Correction

 (“NYCDOC”) for approximately sixteen years as a Correction Officer, where she has exhibited

 exemplary service. In or about May 2022, Ms. Orr was assigned to modified duty within the

 NYCDOC Transportation Division on Rikers Island.                     Once assigned to the Transportation
Case 1:24-cv-07854-AMD-RML           Document 1        Filed 11/12/24       Page 2 of 20 PageID #: 2




 Department, Ms. Orr applied to be placed at the Transportation Division store (“Store”), where

 Correction Officers sell food.

 3.             Ms. Orr’s assignment to the Store required approval from Defendant Edwich

 Jasmin, who was a Captain and Administrative Supervisor in the Transportation Division—

 working approximately 35 years for the NYCDOC. Jasmin, as a Captain and Administrative

 Supervisor in the Transportation Division, supervised the Store as part of his duties, making Jasmin

 Ms. Orr’s supervisor.

        4.      While assigned to the Store, for a period of over six months, Ms. Orr was subjected

 to a continuous and egregious pattern of sexual advances and assaults from Jasmin. For example,

 Jasmin explicitly propositioned Ms. Orr for sex on several occasions, unzipped his pants to expose

 his penis on multiple occasions, and forcibly kissed and touched her several times. Worse yet,

 Jasmin flexed his power and influence at the Transportation Department to intimidate Ms. Orr,

 creating a scenario where she felt trapped and open to retaliation if she complained about it to

 higher authorities.

        5.      Due to Jasmin’s position and supervisory capacity over Ms. Orr, the City is liable

 for Jasmin’s conduct. In addition, the City, through the NYCDOC, further created a hostile work

 environment for female Corrections Officers, including Ms. Orr, by permitting a machismo culture

 to develop within its ranks and enabling harassment of female Corrections Officers by their direct

 supervisors to continue unchecked. The City, through the NYCDOC, was aware of Jasmin’s

 harassing tendencies based on others lawsuits against him and news reports of similar conduct. As

 a result of Jasmin’s conduct as Ms. Orr’s supervisor, and the hostile environment that the City

 enabled and perpetuated, Ms. Orr was subjected to continuous sexual assaults and harassment for

 over six months, resulting in severe emotional distress and humiliation.




                                                  2
Case 1:24-cv-07854-AMD-RML                 Document 1   Filed 11/12/24     Page 3 of 20 PageID #: 3




                                   JURISDICTION AND VENUE

         6.       This Court has jurisdiction over this action under 28 U.S.C. § 1331, federal

 question, as Plaintiff claims violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

 2000e, et seq.

         7.       Venue is proper in this District pursuant to Title 28 U.S.C. § 1391(b) and (c) as

 Plaintiff resides within this District.

                                       ADMINISTRATIVE REQUIREMENT

         8.       Plaintiff filed an EEOC Charge on August 9, 2023, alleging the claims set forth in

 this Complaint.

         9.       The EEOC forwarded the Charge to the United States Department of Justice, Civil

 Rights Division for review.

         10.      Plaintiff received a Right to Sue notice from the United States Department of

 Justice, Civil Rights Division on August 16, 2024, notifying Ms. Orr that she has 90 days from

 that date to file an action under federal law for discrimination and harassment.. (Right to Sue

 Notice attached hereto).

         11.      This Complaint has been filed within 90 days of receipt of the Right to Sue Notice.




                                                    3
Case 1:24-cv-07854-AMD-RML           Document 1          Filed 11/12/24    Page 4 of 20 PageID #: 4




                                                 PARTIES

        12.     Defendant the City of New York was and still is a municipal corporation.

        13.     Defendant Edwich Jasmin was and is an employee for the City of New York at the

 New York City Department of Correction. During all relevant times, Jasmin held the position of

 Captain and was an Administrative Supervisor within the Transportation Division of the

 NYCDOC.

        14.     Plaintiff is an individual residing in Richmond County in the State of New York

 and employed by Defendant at the New York City Department of Correction, specifically spending

 the last seventeen years as a Correction Officer.

        15.     Plaintiff is a female, her gender and sex make her a protected class member.



        STATEMENT OF FACTS

        16.     Plaintiff began working for the City in or about 2007 as a corrections officer for the

 NYCDOC.

        17.     In or about May 2022, Plaintiff was assigned to the Transportation Division while

 on modified duty. Plaintiff first met Jasmin while interviewing for a position at the Transportation

 Division Store (“Store”), where Correction Officers sell food.

        18.     Jasmin was an Administration Supervisor in the Transportation Division, and in

 that capacity, was in charge of the Store; he has been employed by the City since 1989.

        19.     Jasmin’s pattern of harassment began as purported “jokes,” but intensified in late

 summer 2022 to include unwanted sexual comments, propositions for sex, and exposing his penis.

        20.     Plaintiff believed that to keep her job and position, she would have to tolerate the

 offensive comments and physical advances and do her best to deal with the harassment.




                                                     4
Case 1:24-cv-07854-AMD-RML           Document 1       Filed 11/12/24       Page 5 of 20 PageID #: 5




        21.     In early September 2022, Plaintiff made a request to Jasmin to renew her Gate One

 pass (parking pass) since it was about to expire. Upon making the verbal request, Jasmin replied,

 “I’m Captain Jasmin; I could do that, I could do whatever I want – but what can you do for me?”

 Jasmin continued by stating, “That’s how the world works; you do for me, I do for you. I’m

 Captain Jasmin; I can do whatever-- it’s now on you.” After taking a Pass from a stack rubber

 banded together, Jasmin stated, “If you have any problems, anyone gives you trouble, you tell

 them to call me because you’re good, you’re under Captain Jasmin – now tuck it away, put it in

 your shirt so no one sees.”

        22.     On another occasion, Jasmin and Plaintiff were in his office. Jasmin proceeded to

 unbuckle his pants, exposed his penis to Plaintiff and stated, “What are you gonna do.” Plaintiff

 removed herself from the interaction.

        23.     Jasmin regularly sent Plaintiff text messages with unprofessional statements, such

 as referring to Plaintiff as “hun” and including inappropriate emojis (happy face blowing a kiss,

 flowers, and wine glass.)

        24.     In or about late September 2022, Jasmin groped Plaintiff and tried to unbuckle her

 pants, stating, “You’re going to be my woman.” Fearing she might lose her job, Plaintiff did not

 want to make Jasmin angry. Plaintiff told Jasmin that they could not do anything because she was

 wearing a Faja—a girdle-like undergarment.

        25.     In October 2022, a relative of Plaintiff died, and she was given several days off to

 help with funeral arrangements and attend the funeral. During that time, Jasmin texted Plaintiff,

 “I hope you miss me the way I miss you,” but Plaintiff did not respond.

        26.     In or around late October, Jasmin called Plaintiff and indicated that he was angry

 Plaintiff ignored his text. Jasmin demanded to know why Plaintiff ignored his text, to which




                                                 5
Case 1:24-cv-07854-AMD-RML            Document 1        Filed 11/12/24      Page 6 of 20 PageID #: 6




 Plaintiff responded that she was handling funeral arrangements. Jasmin replied, “Alright, good,

 now when you get back to work, you gonna be ready for me?” Jasmin continued, “You know what

 I’m talking about. You make sure you don’t have that thing [Faja] on – and if you do have it on,

 you better wear the one with a hole in it.”

        27.     Jasmin routinely invited Plaintiff into his office, closed the door, and indicated that

 he would “take care of her” if she had sex with him.

        28.     Jasmin sent Plaintiff one hundred dollars on Cash App and stated that he did that

 “to show you what I could do for you, but that is just a tiny amount of what I could do for you.”

        29.     On November 9, 2022, Jasmin sexually assaulted Plaintiff in his office when he

 grabbed Plaintiff by the belt and kissed Plaintiff on the mouth despite her efforts to turn away.

 Jasmin then proceeded to unzip his pants, walk towards Plaintiff and stated that he was “so horny

 for [Plaintiff]” and that he “could not take it.” Jasmin proceeded to touch Plaintiff and put his

 hands on his crotch. Jasmin finally let go after someone began knocking on the office door.

        30.     On November 22, 2022, Jasmin came to the store and declared, “So you’re just not

 gonna make time for me.”

        31.     On November 30, 2022, after Plaintiff continued to refuse Jasmin’s advances,

 Jasmin retaliated by taking away Plaintiff’s Gate One Pass.

        32.     On December 1, 2022, Jasmin came to the Store window and asked Plaintiff,

 “When are you going to give me some?”

        33.     On December 5, 2022, Jasmin called Plaintiff’s phone while she was in the Shop,

 and Jasmin asked Plaintiff whether she was “ready for [his] lollipop.” Plaintiff ignored that

 statement and commented that the noise coming from Jasmin’s phone sounded like a party. Jasmin




                                                  6
Case 1:24-cv-07854-AMD-RML             Document 1      Filed 11/12/24     Page 7 of 20 PageID #: 7




 invited Plaintiff to his office and stated the office had strobe lights and music, which Plaintiff

 declined. Jasmin replied, “Ok, maybe one day you’ll have time for me.”

         34.     On December 7, 2022, Jasmin approached Plaintiff in the Store and stated that

 Plaintiff was “taking too long to give him some” and that “soon his penis won’t work anymore.”

         35.     On December 7, 2022, Captain Jasmin again assaulted Plaintiff by grabbing her

 belt and pulling her closer to him.

         36.     On December 16, 2022, while Plaintiff was eating fish and shrimp for dinner inside

 the Store, Jasmin asked Plaintiff for a piece of her fish, insinuating her private area. Plaintiff

 offered to make Jasmin a plate of fish, and Captain Jasmin responded, “No, I want yours,” and

 “Oh, it’s like that.”

         37.     On December 19, 2022, Jasmin ordered Plaintiff into his office, where he again

 assaulted Plaintiff. Jasmin locked the door to his office, walked up to Plaintiff, grabbed her belt,

 and asked Plaintiff why Plaintiff did not want to give him “any,” referencing sex. Jasmin then

 grabbed Plaintiff’s face and tried to kiss her.

         38.     On December 20, 2022, Jasmin again assaulted Plaintiff when he, despite Plaintiff’s

 protests and also stating that she was sick, kissed Plaintiff on the cheek, grabbed Plaintiff’s

 buttocks, and stated, “You’re sick, but everything down there is ok,” while looking at her vaginal

 area.

         39.     On December 29, 2022, Jasmin called Plaintiff and requested Plaintiff go to his

 office. Plaintiff refused, and Jasmin responded, “I just wanted to let you know it’s hard [referring

 to his penis]; when are we going to do this?”

         40.     On January 2, 2023, Jasmin demanded Plaintiff give him a New Year’s kiss and

 stated, “Get up right now and come give your man a kiss.” When Plaintiff refused, Jasmin stated,




                                                   7
Case 1:24-cv-07854-AMD-RML            Document 1       Filed 11/12/24      Page 8 of 20 PageID #: 8




 “Why do you treat me so badly?”; “We’re not going to start the year like this, are we?” and “You’re

 so mean to me.”

        41.     On January 4, 2023, Jasmin again assaulted Plaintiff by kissing her on the back of

 the neck.

        42.     On January 6, 2023, Jasmin pushed his chest into Plaintiff’s chest and declared to

 other Officers present, “Did y’all see she didn’t move out of the way.” Plaintiff let him know that

 such action was unacceptable.

        43.     On January 6, 2023, Jasmin attempted to intimidate Plaintiff by getting close to her

 face and declaring that he wanted to fight Plaintiff. Jasmin stopped when a colleague interjected

 by asking Jasmin, “Why are you all in her face?”

        44.     On January 9, 2023, Jasmin propositioned Plaintiff for sex when he offered Plaintiff

 two hundred dollars and said, “I cannot wait any longer,” and that he “wanted” Plaintiff “so badly.”

        45.     On January 11, 2023, Jasmin went to the Store to find Plaintiff. Plaintiff hid from

 Jasmin to avoid further harassment and could overhear a conversation between Captain Jasmin

 and a colleague. Plaintiff’s colleague told Jasmin that the Plaintiff was not feeling well and was

 taking a break. Jasmin replied, “Oh, she must be pregnant.”

        46.     On January 19, 2023, Plaintiff met Jasmin and Captain Hillman at the office to sign

 paperwork related to mandatory training. Once Captain Hillman left, Jasmin turned to Plaintiff,

 bit his lip, and said, “Boy, I cannot wait to fuck you; just let me know when so I can take a pill. I

 do not want to disappoint you.”

        47.     On March 9, 2023, Plaintiff was no longer working for Transportation Division.

 Plaintiff requested the return of Gate One Pass. Jasmin indicated that he would return Plaintiff’s

 Gate One Pass if she had sex with him. Plaintiff refused and Jasmin replied, “You can’t treat me




                                                  8
Case 1:24-cv-07854-AMD-RML                Document 1   Filed 11/12/24     Page 9 of 20 PageID #: 9




 how you treat these other guys that you control around here and have them taking you on vacations.

 You need to leave that guy [referring to Plaintiff’s boyfriend]. He doesn’t even know a vacation

 isn’t enough for you. You think I don’t know what you’ve been doing. I know everything you

 do. I have tags on you.”

        48.     Even though Plaintiff filed a Charge with the EEOC in August 2023, upon

 information and belief, no investigation or inquiry has been conducted, and to this day, no

 corrective action has been taken.

        49.     For six months, Plaintiff had to endure Jasmin’s overt and egregious sexual

 harassment—sexual harassment from her supervisor while working for the Transportation

 Division.

        50.     Because Jasmin had and bragged about his power at the DOC, Plaintiff had no

 choice but to endure, resist, deflect and avoid Jasmin’s sexual propositions, assaults, and

 comments, as she was afraid he would use his power to ruin her career.

        51.     As a result of the six months of intense and egregious sexual harassment, Plaintiff

 suffered severe emotional distress, humiliation, and loss of enjoyment of life.

        52.     Captain Jasmin used his power and authority to sexually exploit women, including

 Plaintiff, and believed he was entitled to do whatever he wanted to women, especially those women

 under his supervision, like Plaintiff.

        53.     Captain Jasmin’s use of power to exploit Plaintiff was constant and continuous, and

 sick and horrific.

        54.     The City, through the NYCDOC, knew full well that Jasmin sexually harassed

 women in the past and continually failed to provide proper corrective action, which allowed Jasmin

 to continue his harassment of other women, including Plaintiff.




                                                   9
Case 1:24-cv-07854-AMD-RML             Document 1        Filed 11/12/24      Page 10 of 20 PageID #:
                                               10



                 AS AND FOR THE FIRST CAUSE OF ACTION AGAINST THE CITY
               (42 U.S.C. § 2000 – Title VII of the Civil Rights Act of 1964 Against the City)
                                     Hostile Work Environment – Sex

         55.      Ms. Orr hereby repeats, realleges, and reiterates all of the allegations stated above

 as if fully set forth herein.

         56.      Title VII of the Civil Rights Act of 1964 (as amended), sets forth that it is an

 unlawful employment practice for an employer to “…discriminate against any individual with

 respect to compensation, terms, conditions or privileges of employment because of such

 individual’s …sex….”

         57.      Ms. Orr is a woman and is protected by Title VII.

         58.      In May 2022, Ms. Orr, a Corrections Officer with NYCDOC for approximately

 sixteen years, was assigned to the Transportation Division.

         59.      Jasmin was Ms. Orr’s supervisor.

         60.      In his capacity as supervisor to Ms. Orr, Jasmin, for at least six months, from the

 Summer of 2022 through March 2023, subjected Ms. Orr to sexual harassment and discrimination.

         61.      As discussed in detail above, Jasmin made sexual propositions to Ms. Orr many

 times, exposed his penis to her, forcibly kissed and touched her, and constantly harassed her about

 having sex with him.

         62.      Jasmin used his power over Ms. Orr when engaging in the sexual harassment of

 her, believing and espousing that he was untouchable.

         63.      Jasmin abused his authority as Plaintiff’s direct superior, subjecting Plaintiff to

 continuous harassment. The City is liable for Jasmin’s actions because he was the Administrative

 Supervisor of the Transportation Division and was Plaintiff’s direct supervisor.




                                                   10
Case 1:24-cv-07854-AMD-RML            Document 1        Filed 11/12/24      Page 11 of 20 PageID #:
                                              11



        64.     The City had prior knowledge that Jasmin was a predator of women, and that other

 women in the past have made complaints about Jasmin’s sexual harassment and that there have

 been news reports about his sexual harassment. Although the City was well aware of Jasmin’s

 predatory conduct, it failed to take proper corrective action and allowed Jasmin to continue his

 sexist and predatory sexual harassment against Plaintiff.

        65.     The harassment from Jasmin affected Plaintiff’s conditions of employment and

 created a hostile work environment based on sex.

        66.     As a result of the harassment and creation of a hostile work environment based on

 Plaintiff’s sex, Plaintiff suffered extreme emotional distress, humiliation and embarrassment,

 anxiety, depression, sleeping and eating problems, and other psychological and physical issues

 related to psychological distress.

        67.     The City’s and Captain Jasmin’s acts were a proximate cause of injuries sustained

 by Ms. Orr.

        68.     Plaintiff is entitled to an award of compensatory and monetary, and is entitled to

 attorney’s fees and costs.



  AS AND FOR A SECOND CAUSE OF ACTION AGAINST THE CITY IN VIOLATION
                   OF NEW YORK EXECUTIVE LAW § 296
                       (Sex Discrimination/Harassment)

 69. Ms. Orr hereby repeats, realleges, and reiterates all of the allegations stated above as if fully

    set forth herein.

 70. The New York State Human Rights Law section 296 prohibits employers from discriminating

    against individuals in compensation or in terms, conditions or privileges of employment based

    on sex.




                                                  11
Case 1:24-cv-07854-AMD-RML            Document 1       Filed 11/12/24      Page 12 of 20 PageID #:
                                              12



 71. Ms. Orr is a woman and is protected by the New York State Human Rights Law.

 72. In May 2022, Ms. Orr, a Corrections Officer with NYCDOC for approximately sixteen years,

    was assigned to the Transportation Division.

 73. Jasmin was Ms. Orr’s supervisor.

 74. In his capacity as supervisor to Ms. Orr, Jasmin, for at least six months, from the Summer of

    2022 through March 2023, subjected Ms. Orr to sexual harassment and discrimination.

 75. As discussed in detail above, Captain Jasmin made many sexual propositions to Ms. Orr,

    exposed his penis to her, forcibly kissed and touched her, and constantly harassed her about

    having sex with him.

 76. Jasmin used his power over Ms. Orr when engaging in the sexual harassment of her, believing

    and espousing that he was untouchable.

 77. Based on the above, Ms. Orr was discriminated, sexually harassed, and subjected to a hostile

    work environment based on her sex in violation of New York Executive Law § 296.

 78. Ms. Orr was treated less well because she was a woman, e.g., being sexually harassed for at

    least six months, in violation of New York Executive Law § 296.

 79. The City is liable for Jasmin’s actions because Jasmin was Plaintiff’s supervisor, as he was the

    Administrative Supervisor of the Transportation Division of the DOC.

 80. The City is liable for Jasmin’s actions because it knew full well that Jasmin was a sexual

    predator and that other women made complaints about his sexual harassment; there were also

    reports in the media about Jasmin’s conduct.

 81. The City failed to properly investigate and provide corrective action to prevent sexual

    harassment at the DOC by Jasmin.




                                                 12
Case 1:24-cv-07854-AMD-RML            Document 1        Filed 11/12/24      Page 13 of 20 PageID #:
                                              13



 82. As a result of the discrimination, harassment and hostile work environment, Ms. Orr

    experienced extreme emotional distress, humiliation and embarrassment, anxiety, depression,

    sleeping and eating problems, and other psychological and physical issues related to

    psychological distress.

 83. The City was well aware of Captain Jasmin’s history of sexual harassment but failed to address

    the issue.

 84. The City’s and Captain Jasmin’s acts were a proximate cause of injuries sustained by Ms. Orr.

 85. Ms. Orr is entitled to compensatory damages for emotional distress and mental anguish.

 86. Ms. Orr is also entitled to attorney’s fees and costs and, due to the egregious nature of the

    discrimination.

              AS AND FOR A THIRD CAUSE OF ACTION AGAINST DEFENDANTS IN
               VIOLATION OF NEW YORK CITY ADMINISTRATIVE LAW § 8-107
                             (Sex Discrimination and Harassment)

 87. Ms. Orr hereby repeats, realleges, and reiterates all of the allegations stated above as if fully

    set forth herein.

 88. The New York City Human Rights Law, 8-107 of the New York City Administrative Code,

    states that it shall be an unlawful discriminatory practice “for an employer or an

    employee…because of the actual…gender… of any person … to discriminate against such

    person in compensation or in terms, conditions or privileges of employment.

 89. Ms. Orr is a woman and is protected by the New York City Human Rights Law.

 90. In May 2022, Ms. Orr, a Corrections Officer with NYCDOC for approximately sixteen years,

    was assigned to the Transportation Division.

 91. Jasmin was the Administrative Supervisor of the Transportation Division of the NYCDOC,

    and was Ms. Orr’s supervisor between May 2022 and March 2023.




                                                  13
Case 1:24-cv-07854-AMD-RML           Document 1        Filed 11/12/24      Page 14 of 20 PageID #:
                                             14



 92. In his capacity as supervisor to Ms. Orr, Jasmin, for at least six months, from the Summer of

    2022 through March 2023, subjected Ms. Orr to sexual harassment and discrimination.

 93. As discussed in detail above, Jasmin made many sexual propositions to Ms. Orr, exposed his

    penis to her, forcibly kissed and touched her, and constantly harassed her about having sex

    with him.

 94. Jasmin used his power over Ms. Orr when engaging in the sexual harassment of her, believing

    and espousing that he was untouchable.

 95. Based on the above, Ms. Orr was discriminated against, sexually harassed and subjected to a

    hostile work environment because of her gender in violation of New York City Administrative

    Law § 8-107.

 96. Ms. Orr was treated less well because she was a woman, e.g., being sexually harassed for at

    least six months, in violation of New York City Administrative Law § 8-107.

 97. As a result of the discrimination, sexual harassment and hostile work environment based on

    gender, Ms. Orr experienced extreme emotional distress, humiliation and embarrassment,

    anxiety, depression, sleeping and eating problems, and other psychological and physical issues

    related to psychological distress.

 98. The City was well aware of Jasmin’s history of sexual harassment, but failed to address the

    issue, and allowed Jasmin to continue his long-storied and reported harassment of women at

    the NYCDOC.

 99. The City’s and Jasmin’s acts were a proximate cause of injuries sustained by Ms. Orr.

 100.   Ms. Orr is entitled to compensatory damages for emotional distress and mental anguish.

 101.   Ms. Orr is also entitled to attorney’s fees and costs and, due to the egregious nature of the

    discrimination, is entitled to punitive damages as against Jasmin.




                                                 14
Case 1:24-cv-07854-AMD-RML           Document 1         Filed 11/12/24     Page 15 of 20 PageID #:
                                             15




          AS AND FOR A FOURTH CAUSE OF ACTION AGAINST THE CITY
           (Sexual Harassment- Violation of New York Executive Law § 296(1)(h)
                                    against the City)

 102.   Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

    paragraphs of this complaint as if more fully set forth herein at length.

 103.   Executive Law § 296(1)(h) provides that: “It shall be an unlawful discriminatory

    practice…for an employer…to subject any individual to harassment because of an

    individual’s…sex…regardless of whether such harassment would be considered severe or

    pervasive under precedent applied to harassment claims….”

 104.   Plaintiff is a woman and belongs to a protected group.

 105.   The City, through the NYCDOC, discriminated against Plaintiff and created a hostile work

    environment because of Plaintiff’s sex in violation of Executive Law § 296(1)(h) because

    Plaintiff’s supervisor, Jasmin, subjected Plaintiff to continuous, intense and egregious sexual

    harassment, and because Jasmin was Plaintiff’s direct supervisor, the City is liable for his

    actions.

 106.   The City is also liable for Jasmin’s actions by permitting him to abuse his authority and

    subject Plaintiff and other women to a continuous pattern of sexual assaults and harassment,

    and failing to address the situation after being informed and advised by other women about

    Jasmin’s predatory behavior against women.

 107.   Plaintiff has endured a long history of sexual harassment by Jasmin throughout her tenure

    at the Store, examples of which are stated above.

 108.   Jasmin abused his authority as Plaintiff’s direct superior, subjecting Plaintiff to continuous

    sexual harassment.




                                                 15
Case 1:24-cv-07854-AMD-RML           Document 1        Filed 11/12/24      Page 16 of 20 PageID #:
                                             16



 109.    The sexual harassment from Jasmin affected Plaintiff’s conditions of employment, and

    created a hostile work environment.

 110.    Through NYCDOC’s actions, the City created a hostile work environment for Plaintiff,

    creating the circumstances that led to harassing, embarrassing, and humiliating Plaintiff based

    on Plaintiff’s sex and by failing to provide corrective action even though the City knew that

    Jasmin was predatory against women and had a history of sexually harassing women.

 111.    The NYCDOC allowed, condoned and permitted the harassment of Plaintiff as described

    above because of her sex, because Jasmin was Plaintiff’s supervisor and because the City knew

    of Jasmin’s sexual harassment history and did nothing to correct the situation and prevent him

    from harassing women in the future, such as Plaintiff.

 112.    Based on the foregoing actions, Defendant created and condoned a hostile work

    environment for Plaintiff because of her sex in violation of Executive Law § 296(1)(h).

 113.    As a direct and proximate result of Defendants’ harassment and hostile work environment

    in violation of Executive Law § 296(1)(h), Plaintiff suffered, and continues to suffer, extreme

    emotional distress, humiliation and embarrassment, anxiety, depression, sleeping and eating

    problems, and other psychological and physical issues related to psychological distress.

 114.    As a direct and proximate result of Defendants’ unlawful and discriminatory actions in

    violation of Executive Law § 296(1)(h), Plaintiff is entitled to attorneys’ fees and costs.

            AS AND FOR A FIFTH CAUSE OF ACTION AS AGAINST JASMIN

        (Aiding and Abetting Discrimination – Violation of NY Executive Law § 296(6))


 115.    Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

    paragraphs of this complaint as if more fully set forth herein at length.

 116.    The City, as Plaintiff’s employer, violated New York Executive Law section 296 by having



                                                 16
Case 1:24-cv-07854-AMD-RML              Document 1     Filed 11/12/24      Page 17 of 20 PageID #:
                                                17



    one of its supervisors, Jasmin, sexually harass Plaintiff for over six months.

 117.   Jasmin made many propositions for sex to Plaintiff, exposed his penis, sexually assaulted

    Plaintiff and continuously sought to have sex with Plaintiff even though she clearly and

    forcefully rejected his advances.

 118.   Jasmine aided and abetted the discrimination and harassment of the City, i.e., employer, by

    being the active participant in the sexual harassment of Plaintiff.

 119.   An employee aids and abets the discrimination of an employer by being the active

    participant of the harassment and/or discrimination, and Jasmin was the active participant in

    the City’s discrimination and harassment of Plaintiff.

 120.   As a result of Jasmin’s aiding and abetting of sexual harassment, Plaintiff suffered severe

    emotional distress, humiliation and embarrassment, and is entitled to compensatory damages,

    attorney’s fees and punitive damages as against Jasmin.

                      AS AND FOR A SIXTH CAUSE OF ACTION
                                 AGAINST DEFENDANT
   (Employer Liability For Discriminatory Conduct By Employees Pursuant to New York
                          City Administrative Code § 8-107(13))

 121.   Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

    paragraphs of this complaint as if more fully set forth herein at length.

 122.   An employer shall be liable for an unlawful discriminatory practice based upon the conduct

    of an employee or agent which is in violation of subdivision one or two of 8-107 of this New

    York City Administrative Code where (1) the employee or agent exercised managerial or

    supervisory responsibility or (2) the employer knew of the employee’s or agents discriminatory

    conduct, and acquiesced in such conduct or failed to take immediate and appropriate corrective

    action; an employer shall be deemed to have knowledge of an employee's or agent's

    discriminatory conduct where that conduct was known by another employee or agent who



                                                 17
Case 1:24-cv-07854-AMD-RML            Document 1        Filed 11/12/24       Page 18 of 20 PageID #:
                                              18



    exercised managerial or supervisory responsibility; or (3) the employer should have known of

    the employee's or agent's discriminatory conduct and failed to exercise reasonable diligence to

    prevent such discriminatory conduct. 8-107(13)(b).

 123.   Plaintiff is a woman and is protected by the New York City Human Rights Law.

 124.   Jasmin, while Plaintiff’s supervisor, sexually harassed Plaintiff as described above.

 125.   The City is liable for Jasmin’s sexual harassment of Plaintiff because he exercised

    managerial and supervisory responsibility, and had supervisory authority over Plaintiff.

 126.   The City is liable for Jasmin’s sexual harassment of Plaintiff because the City knew or

    should have known of Jasmin’s prior incidents of sexual harassment and predatory conduct,

    and did nothing to prevent future acts of sexual harassment by Jasmin from continuing.

 127.   Captain Jasmin abused his authority as Plaintiff’s direct superior, subjecting Plaintiff to

    continuous harassment.

 128.   The harassment from Captain Jasmin affected Plaintiff’s conditions of employment.

 129.   The City failed to exercise reasonable diligence to prevent discriminatory conduct of its

    employees’ discrimination against Plaintiff.

 130.   As a proximate result of The City’s actions, Plaintiff has suffered and continues to suffer

    humiliation, emotional distress, and physical and mental pain and anguish.

 131.   As a proximate result of The City’s actions, Plaintiff is entitled to compensatory damages.

 132.   Plaintiff is entitled to recover reasonable attorneys’ fees and costs.

 133.   The City’s conduct constitutes malicious, willful, wanton, and/or reckless indifference to

    Plaintiff’s protected rights, entitling Plaintiff to punitive damages.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court grant judgment in his favor




                                                  18
Case 1:24-cv-07854-AMD-RML           Document 1       Filed 11/12/24      Page 19 of 20 PageID #:
                                             19



 and against Defendants:

        A.     Declaring that Defendants engaged in unlawful employment practices prohibited
               by the state and local laws;

        B.     Awarding Plaintiff damages in an amount to be determined at trial, plus pre-
               judgment interest, to compensate Plaintiff for all non-monetary, compensatory
               damages, including but not limited to, compensation for her severe mental anguish
               and emotional distress, humiliation, embarrassment, stress and anxiety, loss of self-
               esteem, self-confidence and personal dignity, emotional pain and suffering and
               other physical and mental injuries;

        C.     Awarding Plaintiff damages in an amount to be determined at trial, plus pre-
               judgment interest, to compensate Plaintiff for all monetary losses, including but not
               limited to loss of past and future income, compensation, and benefits, for which she
               is entitled to an award of monetary damages and other relief;

        D.     Awarding Plaintiff damages for any and all other monetary and/or non-monetary
               losses suffered by Plaintiff in an amount to be determined at trial, plus pre-judgment
               interest;

        E.     Awarding Plaintiff punitive damages, in an amount to be determined at trial;

        F.     Awarding Plaintiff costs that Plaintiff has incurred in this action, as well as
               Plaintiff’s reasonable attorneys’ fees to the fullest extent permitted by law; and

        G.     Awarding Plaintiff such other and further relief as the Court deems just and proper.


 Dated: Garden City, New York
        November 12, 24

                                                      Stagg Wabnik Law Group LLP

                                                      By: _
                                                      ____________________
                                                         David Ehrlich (de-9786)
                                                         Scott Clark (sc-9218)
                                                      Attorneys for Plaintiff
                                                      401 Franklin Avenue, Suite 300
                                                      Garden City, New York 11530
                                                      (516) 812-4570
                                                      dehrlich@staggwabnik.com




                                                19
Case 1:24-cv-07854-AMD-RML         Document 1   Filed 11/12/24   Page 20 of 20 PageID #:
                                           20




 TO:   The City of New York
       Corporation Counsel
       100 Church Street – 5th Floor
       New York, NY 10007

       Edwich Jasmin
       New York City Department of Correction
       75-20 Astoria Boulevard
       East Elmhurst, New York 11370




                                           20
